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                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    October 8, 2014

By ECF
Hon. Katherine B. Forrest
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

               Re:    United States v. Ross William Ulbricht, 14 Cr. 68 (KBF)

Dear Judge Forrest:

         Please find attached a proposed summary of the case to be used in connection with voir
dire at trial.

                                                    Respectfully,

                                                    PREET BHARARA
                                                    United States Attorney


                                                By: ______________________________
                                                    SERRIN TURNER
                                                    TIMOTHY HOWARD
                                                    Assistant United States Attorneys
                                                    Southern District of New York
cc:    Joshua Dratel, Esq.
